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 1                                                                 Chief Judge Richardo S. Martinez

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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9
          BENJAMIN RIEDESEL                              Case No. 2:21-cv-00033-RSM
10
                                       Plaintiff,        STIPULATED MOTION AND ORDER
11                     v.                                FOR EXTENSION OF PRETRIAL
                                                         DEADLINES
12        UNITED STATES OF AMERICA,
                                                         Noted on Motion Calendar:
13                                     Defendant.
                                                         October 18, 2021
14

15                                         JOINT STIPULATION

16            The parties hereby jointly STIPULATE AND AGREE to extend the following pretrial

17 deadlines as set forth in the Court’s June 7, 2021, Order Setting Trial Date and Related Dates

18 (Dkt. 12), as set forth below.

19
                   Deadline                    Current Deadline        Proposed New Deadline
20
          All motions related to
                                              November 12, 2021            December 3, 2021
21        discovery must be FILED by

          Discovery completed by               December 13, 2021          December 27, 2021
22

23
     //
24
      STIPULATED MOTION AND ORDER FOR EXTENSION                     UNITED STATES ATTORNEY
      OF PRETRIAL DEADLINES                                           700 Stewart Street, Suite 5220
      [2:21-cv-00033-RSM] - 1                                        Seattle, Washington 98101-1271
                                                                               206-553-7970
               Case 2:21-cv-00033-RSM Document 16 Filed 10/19/21 Page 2 of 4




 1           Good cause exists for extending this deadline. On October 13, 2021, the parties disclosed

 2 their respective expert witnesses. At least one expert witness is unavailable to be deposed prior to

 3 the current motion cut-off date of November 12, 2021. Although the parties will work to resolve

 4 any issues pertaining to expert discovery informally, to the extent issues arise during the course of

 5 deposition(s) that necessitate the filing of motions to compel or other motions relating to expert

 6 discovery (e.g., not motions in limine), the parties will require an extension of the current deadline.

 7 The parties have been diligent with respect to both fact and expert discovery to date and the

 8 extension is sought merely to accommodate the schedule of at least one expert witness, whose

 9 deposition is presently set for November 22, 2021. Extension of the deadline referenced above

10 will not impact the remaining deadlines set forth in the Court’s Order. These remaining dates are

11 listed below for the Court’s convenience.

12
                 Deadline                     Current Deadline              Proposed New Deadline
13
        All dispositive motions must
                                              January 11, 2022                         N/A
                 be filed by
14
        All motions in limine must be
                                               March 14, 2022                          N/A
15                filed by

16        Agreed pretrial order due            March 30, 2022                          N/A

17         Trial briefs, proposed
            findings of fact and                April 6, 2022                          N/A
18      conclusions of law, etc. due

19           For the reasons set forth above, the parties believe that there is good cause to request an
20 extension of the above-listed pretrial deadline and respectfully request that the Court grant their

21 motion.

22 //

23 //

24
     STIPULATED MOTION AND ORDER FOR EXTENSION                          UNITED STATES ATTORNEY
     OF PRETRIAL DEADLINES                                                700 Stewart Street, Suite 5220
     [2:21-cv-00033-RSM] - 2                                             Seattle, Washington 98101-1271
                                                                                   206-553-7970
           Case 2:21-cv-00033-RSM Document 16 Filed 10/19/21 Page 3 of 4




 1        SO STIPULATED.

 2        Dated this 15th day of October, 2021.

 3
                                       COLBURN LAW
 4

 5                                     GREGORY S. COLBURN, WSBA No. 41236
                                       22500 SE 64th Place, Suite 200
 6                                     Issaquah, WA 98027
                                       Phone: 206-919-3215
 7                                     Fax: 888-850-2909
                                       Email: greg@colburnlaw.com
 8
                                       Attorney for Plaintiff
 9

10

11        SO STIPULATED.

12        Dated this 15th day of October, 2021.

13
                                       NICOLAS W. BROWN
14                                     United States Attorney

15                                     s/ Erin K. Hoar
                                       ERIN K. HOAR, CA No. 311332
16                                     Assistant United States Attorney
                                       United States Attorney’s Office
17                                     700 Stewart Street, Suite 5220
                                       Seattle, Washington 98101-1271
18                                     Phone: 206-553-7970
                                       Fax: 206-553-4067
19                                     Email: Erin.Hoar@usdoj.gov

20                                     Attorneys for Defendant United States of America

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24
     STIPULATED MOTION AND ORDER FOR EXTENSION                   UNITED STATES ATTORNEY
     OF PRETRIAL DEADLINES                                         700 Stewart Street, Suite 5220
     [2:21-cv-00033-RSM] - 3                                      Seattle, Washington 98101-1271
                                                                            206-553-7970
           Case 2:21-cv-00033-RSM Document 16 Filed 10/19/21 Page 4 of 4




 1                                           ORDER

 2        IT IS SO ORDERED.

 3

 4        DATED this 19th day of October, 2021.

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 7                                           A
                                             RICARDO S. MARTINEZ
 8                                           CHIEF UNITED STATES DISTRICT JUDGE

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     STIPULATED MOTION AND ORDER FOR EXTENSION             UNITED STATES ATTORNEY
     OF PRETRIAL DEADLINES                                   700 Stewart Street, Suite 5220
     [2:21-cv-00033-RSM] - 4                                Seattle, Washington 98101-1271
                                                                      206-553-7970
